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                                                                                  FIL!:D IN CLERK'S OFFICE
                             IN THE UNITED STATES DISTRICT COURT                        U.S.O.C. - Atlanta

                           FOR THE NORTHERN DISTRICT OF GEORGIA
                                        ATLANTA DIVISION                            ;::::s 1 s 2022
                                                                                   KEVIN p WEIMER, Clerk
                                                                                  Sy~                        Clerk




SATOSHI NAKAMOTO ET AL                                 Civil Action No. 1:21-cv- 04260-SDG

Plaintiffs

V.


THE US, CRAIG WRIGHT,
COINBASE, RPI, ET AL
Defendants




                                     MOTION TO EXTEND TIME




I, Satoshi Nakamoto, assumed the risk and had covid . I am still symptomat ic.


I am in the process of informing all of Congress.


 I can read too: apparently lawyers and their clients wanna play a game called ... "dumb bitch does
 not know to use EDGAR the SEC'S search engine to get a mailing addres". Or so I am told . I AM
 WHOLLY AWARE, I ASSURE THEM, YOU THE READER AND THIS COURT. I EVEN PULLED ALL OF
 THE 2007 & 2008 bailoutted AND bailoutter SEC DOCS ALREADY. This court should be indignant
 but I know it will instead just keep writing FRIVOLOUS when I act to sue certain exact people or a
 law school when it is not frivolous for me at all but only a risk the judge that the Judge is afraid
 to assume as he or she is forever a lawyer and political crony first and only or so I, Satoshi, opine
 unanimous ly. Hey, I could have called the judge a "court whore".
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I am also meeting with Meyring in person to enact another part of my successful greed trap as I
deal in actual types and amounts of energy unlike everybody else. I will be traveling. Perhaps I
will acost and take what is mine, I mean press suit, against all I named who are "Atlanta" in
person.


And inform Emory that it is now one of my goals in life to shut them down forever. And Robert
Meyring does not have so much influence where I am concerned that he can stop me.



90 days should be enough of an extension by far to calculate what we will act to do, to finish
serving all and to overcome any lingering symptoms of covid.


A judgment of default solves nothing as conditions are currently so perhaps we need to change
them again .




                                         date



Motion to extend time 90 days to file a judgment of default - or whatever the Plaintiffs decide to
do - is granted.




Sig                                      date
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